Case 22-19361-MBK            Doc 1703          Filed 10/10/23 Entered 10/10/23 14:20:02                Desc Main
                                              Document Page 1 of 1         Page 1 of 1


    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    PDF FILE WITH AUDIO FILE ATTACHMENT

          2022-19361
          BlockFi Inc.



          Case Type :                    bk
          Case Number :                  2022-19361
          Case Title :                   BlockFi Inc.

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